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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 12-60011-CR-ROSENBAUM


  UNITED STATES OF AMERICA,

                           Plaintiff,

  v.

  ANDRE D. BARBARY, et al.,

                           Defendants.
                                           /


                              ORDER RESETTING TRIAL LOCATION

            This matter is before the Court sua sponte. Earlier today, the Court held a calendar call at

  which it advised the parties that trial in this matter would occur in Miami because of the number of

  Defendants proceeding at once and the inability of an available courtroom in Fort Lauderdale to

  handle seven Defendants. After the hearing, the Court was advised by the Marshal’s Service that,

  in light of the severance of Defendant Jackson’s trial, the trial of the remaining six Defendants may

  proceed in Fort Lauderdale. Accordingly, trial in this matter will proceed in Fort Lauderdale,

  Florida, beginning on October 22, 2012, or as soon thereafter as possible, in Courtroom 310-B.

            DONE AND ORDERED at Fort Lauderdale, Florida, this 13th day of September 2012.




                                                         ROBIN S. ROSENBAUM
                                                         UNITED STATES MAGISTRATE JUDGE

  copies:          Counsel of Record
